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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                           §      CASE NO. 25-30155
                                                   §
  ALLIANCE FARM AND RANCH, LLC,                    §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §
  IN RE:                                           §      CASE NO. 25-31937
                                                   §
  ALLIANCE ENERGY PARTNERS,                        §      (CHAPTER 11)
  LLC,                                             §
                                                   §
         DEBTOR                                    §


                NOTICE OF WITHDRAWAL WITHOUT PREJUDICE OF
                        MOTION TO QUASH SUBPOENAS
                            (Relates to Docket No. 91)

       Tom A. Howley, in his capacity as the chapter 11 trustee in the above-numbered and styled

bankruptcy proceedings and having resolved the dispute addressed in the Motion to Quash (Docket

No. 91) filed by the Alliance Farm and Ranch, LLC, files this notice that the Motion to Quash

Subpoenas, filed at Docket No. 91, is hereby withdrawn without prejudice to refiling.

DATED: June 5, 2025                         Respectfully submitted,


                                            /s/ Eric Terry
                                            Eric Terry
                                            Texas Bar No. 00794729
                                            HOWLEY LAW PLLC
                                            700 Louisiana St., Suite 4545
                                            Houston, Texas 77002
                                            Telephone: 713-333-9125
                                            Email: eric@howley-law.com

                                            Proposed Counsel for Tom A. Howley - Trustee
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                                CERTIFICATE OF SERVICE

        I certify that on June 5, 2025, I caused a copy of the foregoing document to be served by
electronic transmission to all registered ECF users appearing in these cases.

                                            /s/ Eric Terry
                                            Eric Terry
